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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

ROI DEVELOPERS, INC.,                   §
d/b/a ACCRUVIA,                         §
                                        §
        Plaintiff,                      §
                                        §
v.                                      §        Civil Action No. 4:22-cv-00073-O
                                        §
ATHENA BITCOIN, INC.,                   §
                                        §
        Defendant.                      §


                           PLAINTIFF’S RESPONSE
               TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                           PLAINTIFF’S RESPONSE
               TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        The Court should deny Defendant’s Motion for Summary Judgment                  1
                                                                                           (Dkt. 14)

(“Defendant’s Motion”) for two reasons:

    •   Even though Defendant Athena Bitcoin, Inc. (“Athena”) did not meet its burden to obtain

        a “no evidence” summary judgment motion, Plaintiff ROI Developers, Inc., d/b/a Accruvia

        (“Accruvia”) nonetheless has shown that there is a material question of fact on its breach

        of contract and quantum meruit claims; and

    •   The Court has personal jurisdiction over Athena because the unpaid work that forms the

        basis of Accruvia’s contract/quantum meruit claims was done for Athena’s bitcoin ATMs

        in Texas, establishing specific personal jurisdiction.

                                       RELEVANT FACTS

                                        Accruvia’s business

        1.     Shaun Overton “Overton” is the President of Accruvia. Affidavit of Shaun Overton

(“Overton Aff.) ⁋1 (P’s App. at Ex. 1).2

        2.     Accruvia is a Texas corporation, its principal office is in Hurst, Texas, and Overton

resides in Texas. Overton Aff. ⁋2.

        3.     Accruvia’s primary business is that of an API (applications programming interface)



1
 The case caption on Defendant’s Motion is incorrect. The live amended petition when removed
from state court to this Court did not include “d/b/a Athena Bitcoin Global” in the case caption
under the Defendant’s name. Likewise, Shaun Overton did not testify as Accruvia’s corporate
representative, as Defendants represent. Defendant’s Motion ⁋5.c. He testified as an individual.
Athena’s Appendix (Dkt. 15) (“D’s App.”) at Ex. 3 (cover page and at p. 4, ll.9-18).
2
 Unless otherwise indicated (e.g., where the evidence was submitted by Athena in its Appendix—
"D’s App.”), all evidence Accruvia is submitting in response is in Plaintiff’s Appendix in Support
of Response to Motion for Summary Judgment (“P’s App.”), which is being filed
contemporaneously and is incorporated by reference.


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integrator, which means it develops software that allows two other unrelated software platforms

to work and communicate with each other. Overton Aff. ⁋3.

                             Accruvia’s first involvement with Athena

        4.      Accruvia had been hired by a consultant for the government of El Salvador to fix

certain software problems with a government-sponsored bitcoin project called Chivo Wallet (see

Chivo Wallet section below) in the late-summer/early-fall of 2021. Overton Aff. ⁋4. One of

Accruvia’s tasks was to help fix the problems and bugs caused by software for Chivo Wallet that

had been developed by an “Athena Bitcoin” entity. Overton Aff. ⁋4.

        5.      During that process Overton became aware of “Athena Bitcoin” and its CEO, Eric

Gravengaard (“Gravengaard”) in September 2021. Overton Aff. ⁋5; D’s App. at Ex. 4 (p.86, l.14-

p.89, l.7); D’s App. at Ex. 3 (p. 18, l18-p. 21, l.8; p.133, l.7-p.133, l.24).

        6.      Gravengaard was the CEO of Athena Bitcoin Global (“ABIT,” as referred to in

Defendant’s Motion) and a director of Athena. Defendant’s Motion ⁋6; D’s App. at Ex. 4 (p.26,

ll. 11-21). Gravengaard was also the CEO of Athena in 2019. D’s App. at Ex. 4 (p.72, l.25-p.73,

l.4).

        7.      Athena is the operating subsidiary of ABIT. D’s App. at Ex. 4 (p.21, ll.21-25; p.23,

l.24-p.24, l.8); SEC Form S-1 at 18 (excerpts at P’s App. at Ex. 2-G). Athena was a wholly owned

subsidiary of ABIT at the relevant time period here, with ABIT acting as a holding company of

Athena. D’s App. at Ex. 4 (p.33, ll.6-14); P’s App. at Ex. 2-G. Athena has the same address as

ABIT. D’s App. at Ex. 4 (p.74, ll. 4-14).

                                   Athena’s relationship to Texas

        8.      Athena operates bitcoin ATMs in the United States, D’s App. (p. 31, ll.18-25),

including bitcoin ATMs in Texas. Defendant’s Supplemental Responses to Plaintiff’s First Set of




                                                    2
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Personal Jurisdiction Discovery (“Discovery Responses”) (P’s App. at Ex. 2-A) at RFAs 5, 6

(admitting that Athena owns property in Texas, namely “movable, personal property in the form

of crypto ATMs in Texas”); Discovery Responses at RFAs 4 (admitting Athena owns in Texas

“the ATMs in operation”); D’s App. at Ex. 4 (p.36, ll.15-18). Athena obtains revenues from those

bitcoin ATMs. Discovery Responses at RFA 10.

        9.      Although Athena is a Delaware corporation, D’s App. at Ex. 4 (p. 17, ll.1-3),

Athena is registered to do business in Texas. P’s App. at Ex. 2-A ( RFA 1); D’s App. at Ex. 4

(p.45, ll.6-11; p.68, ll.4-11). It has a registered agent, and it files Texas Franchise Tax Public

Information Reports. P’s App. at Ex. 2-A (RFA 2, 3); D’s App. at Ex. 4 (p.36, l.19-p.39, l.12);

Texas Franchise Tax Public Information Reports (P’s App. at Ex. 2-C)

        10.     Athena obtained revenue from its bitcoin ATMs, including those in Texas. D’s

App. at Ex. 4 (p.73, ll.5-14); P’s App. at Ex. 2-A (RFA 10).

        11.     Athena’s website, which is accessible by Texas residents, lists eight bitcoin ATM

locations in Texas, shows that Athena has a presence in Texas, and Athena intends for that website

to be accessible to all Internet users, including those in Texas. P’s App. at Ex. 2-A (at RFAs 11-

17); D’s App. at Ex. 4 (p.60, ll.9-23; p.61, l.1-p.65, l.5); Athena Website Printouts (P’s App. at Ex.

2-D).

        12.     Athena currently employs one person in Texas, Bailey Jarrell. D’s App. at Ex. 3

(p.135, l.25-p.136, l.3).

                            The “Term Sheet” between Accruvia and Athena

        13.     In September of 2021, Accruvia entered into a “Term Sheet”—essentially a non-

binding letter of intent signed by “Athena Bitcoin Global, Inc.”—not ABIT—under which Overton

was going to work for Athena Bitcoin Global, Inc. (the signatory), as an employee and do other




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work IF the parties conducted due diligence and closed on the deal by the targeted date of October

22, 2021. D’s App. at Ex. 1; D’s App. at Ex. 4 (p.30, ll.9-17); Defendant’s Motion at 4 (admitting

that the Term Sheet was “subject to the signing of a definitive agreement”).

        14.     The parties did not close any deal or sign any “definitive transaction documents”

as anticipated, but not required, by the Term Sheet. Overton Aff. ⁋7.

        15.     Overton entered into the Term Sheet, even though he was giving up a $4.5 million

opportunity with the government of El Salvador, based on Gravengaard’s representations as to the

business and plans of “Athena.” D’s App. at Ex. 3 (p. 53, l.8-p.54, l.6).

        16.     Athena knew that Accruvia was based in Texas, that Overton lived in Texas, and

that work by Accruvia was done, in part, in Texas. D’s App. at Ex. 4 (p.102, l.11-p.103, l.4; p.103,

ll.14-18; p.105, ll.14-23); Overton Aff. ⁋⁋9, 11.

                                  The work Accruvia did for Athena

        17.     In October 2021 Accruvia subsequently performed custom software development

for Athena on Chivo Wallet, along with providing supplemental marketing services. Overton Aff.

⁋10; P’s App. at Exs. 1-B – 1-F. The work done by Accruvia related to Chivo Wallet. Defendant’s

Motion ⁋11; Overton Aff. ⁋15; D’s App. at Ex. 3 (p.7, l.24-p. p.12, l.19; p. 131, ll.17-23); D’s App.

at Ex. 4 (p.74, l.19-p.75, l.24; p.79, ll.6-9).

        18.     Overton believed, at the time Accruvia started the work that forms the basis of this

lawsuit, that he was working for Athena. D’s App. at Ex. 3 at p. 62-65.

        19.     The work was not done pursuant to the terms of the “Term Sheet,” although

Overton’s rate was pulled from the Term Sheet. D’s App. at Ex. 3 (p.124, l.20-p.127, l.3).




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        20.     This work, which was directed by Athena, was provided to Athena and/or done for

Athena.3 Overton Aff. ⁋12; D’s App. at Ex. 3 (p.70, ll. 14-22; p.80, ll. 13-17; p.81, ll. 7-10; p.130,

l.25-p.131, l.7).

        21.     The work in question was done by Overton while in Texas and elsewhere, by an

Accruvia employee in Texas, and by contractors elsewhere. Overton Aff. ⁋11; D’s App. at Ex. 3

at p. 72, ll. 9-23. Athena knew Overton lived in Texas. D’s App. at Ex. 4 (p.103, ll14-18). The

work was directed by persons at Athena.

                     The work’s relationship to Athena’s Texas bitcoin ATMs

        22.     As noted, the work in question performed by Accruvia that forms the basis of this

lawsuit was done for the Chivo Wallet project. Overton Aff. ⁋15; D’s App. at Ex. 3 (p.7, l.24-p.

p.12, l.19; p. 131, l.17-p.132, l.6); D’s App. at Ex. 4 (p.74, l.19-p.75, l.24; p.79, ll.6-9).

        23.     Chivo Wallet was a project of the government of El Salvador to address the

“remittance” market with ATMs, or to assist in limiting or lowering commissions charged for the

transfer of moneys, often from individuals in the United States to individuals in El Salvador.

Overton Aff. ⁋13. Chivo Wallet, when used in a bitcoin ATM in the United States using its

technology, would allow a person in the United States to deposit cash in a bitcoin ATM, which

would then convert the cash to bitcoin, and then that bitcoin could be obtained by someone in El

Salvador (or anywhere) who has the Chivo Wallet app. Overton Aff. ⁋13. The recipient can then

sell the bitcoin at a cryptocurrency ATM to withdraw U.S. dollars. Overton Aff. ⁋13. Chivo

Wallet was a way to dramatically lower the commission charged in a pure cash-to-cash transfer.




3
  Accruvia denies that the work was done “for ABIT exclusively,” as Defendant represents.
Defendant’s Motion ⁋⁋10-12. Athena admitted that its sworn interrogatory responses were
incorrect on this point. D’s App. at Ex. 4 (p.115, l.14-p.118, l.21).



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Overton Aff. ⁋13. In other words, “[t]he whole point of the Chivo Wallet ecosystem . . . the whole

purpose of the product is that you can go up to a physical ATM and put money in it and send it to

El Salvador. Without the physical ATMs in Texas, it doesn’t make any sense.” D’s App. at Ex.

3 (p.82, l. 20-p.83 l.4).

        24.     Chivo Wallet had to use Athena’s bitcoin ATMs in Texas to operate, and Chivo

Wallet had to “talk to” bitcoin ATMs “otherwise, there’s no point.” D’s App. at Ex. 3 (p.84, ll. 5-

20; p.88, ll.13-14). One has to use Athena’s bitcoin ATMs to “skip the commissions, which is the

entire point of building Chivo Wallet.” D’s App. at Ex. 3 (p.88, l.25-p.89, l.3). And one cannot

divorce Chivo Wallet from Athena’s bitcoin ATMs in the United States. D’s App. at Ex. 3 (p.129,

l.3-p.130, l.2).4

        25.     Chivo Wallet is also known as Chivo Core.             Declaration of Panagiotis

Angelopolous (P’s App. at Ex. 3). Athena’s bitcoin Salvadoran entity used its dollar and bitcoin

balances within Chivo Core to deliver bitcoin to anyone transacting business at a Chivo ATM,

including those in the United States (including Texas, of course). Id. The work Accruvia did for

Athena was used, in part, to help resolve various outages with ATMs using Chivo Core, id., and

those ATMs had to directly interface with Chivo Core.          See Supplemental Declaration of

Panagiotis Angelopolous (P’s App. at Ex. 4).

        26.     A diagram provided to Accruvia by the government of El Salvador as part of the

work Accruvia was doing on Chivo Wallet for Athena also shows that Chivo Core is part of Chivo

Wallet—something that Athena admitted. P’s App. at Ex. 1-A; D’s App. at Ex. 4 (p.143, l.11-

p.144, l.5); Overton Aff. ⁋14.




4
 Defendant submitted the entirety of Overton’s deposition transcript without preserving any of its
objections to the form of any questions.


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              Athena’s Inconsistent Testimony about the work Accruvia performed

        27.     Gravengaard’s testimony about Athena’s work with Chivo Wallet was inconsistent

with what ABIT (with its “business operations [] conducted by Athena”) put its SEC filings: “The

Chivo digital wallet also allows Salvadorans in the U.S. to send money home without incurring

remittance fees.” P’s App. at Ex. 2-G at 59. The SEC filings also make clear that Chivo Wallet,

among other things, allows the sending and receiving between U.S. and bitcoin users in El

Salvador. P’s App. at Ex. 2-G at 5.

        28.     In his deposition, however, Gravengaard testified to the contrary: Chivo Wallet was

not “used to facilitate remittances between two ATMs”; it had no use for bitcoin ATMs in the

United States; one has to be in El Salvador to use Chivo Wallet; and it cannot be used in the United

States; and there does not have to be a Chivo Wallet connection between it and a bitcoin ATM in

the United States for Chivo Wallet to work; and Chivo Wallet “has absolutely no connection or

role with Athena’s US Bitcoin ATMs.” D’s App. at Ex. 4 (p.121, l.21-p.123, l.17; p.129, ll.6-15;

p.136, l.21-p.137, l.5).5

        29.     Athena Ruru is another Athena-related product that is “based on similar concepts

and some of the same intellectual property” from Chivo Wallet. D’s App. at Ex. 4 (p.144, l.6-

p.145, l.4). The code for Athena Ruru, which is also another name for Chivo Wallet, also




        5
           At his deposition, Gravengaard claimed that he did not know that he was being deposed
as the corporate representative for Athena until he was shown the corporate representative
deposition notice. D’s App. at Ex. 4 (p.6, l.10-p.7, l7). Gravengaard could not answer basic
questions about the benefits of Chivo Wallet, despite claiming that ABIT was hired by El Salvador
to develop it. D’s App. at Ex. 4 (p.126, l.17-p.131, l.16). Gravengaard did not do any work to
prepare for at least one other topic. D’s App. at Ex. 4 (p.59, ll.7-12). Indeed, when asked what he
did to prepare for his corporate representative deposition in general, Gravengaard flippantly
responded that he “put on a nice shirt . . . [c]ombed my hair, took a shower.” D’s App. at Ex. 4
(p.9, ll.1-12).



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includes coding that Accruvia’s representatives performed. Supplemental Declaration of

Panagiotis Angelopolous (P’s App. at Ex. 4). The coding done by Accruvia for Athena Ruru is

part of the work/invoices sued under here. Overton Aff. ⁋15.

       30.     Gravengaard testimony about Athena Ruru is also inconsistent with other evidence

and ABIT’s SEC filing (noting that Athena is ABIT’s operating entity). Gravengaard testified that

he was not sure whether the work done by Accruvia for Chivo Wallet “has survived to be a part of

the Ruru software at this time” and that D’s App. at Ex. 4 (p.147, ll.6-12). However, Athena Ruru

uses the same code base as Chivo Wallet, P’s App. at Ex. 4, and ABIT’s SEC filing says that

Athena Ruru is based on the “App,” which is part of Chivo Wallet. P’s App. at Ex. 2-G at 5, 6—

meaning that Athena Ruru incorporates Accruvia’s work in question.

                   Athena’s payment of the first invoice for Accruvia’s work
                            and failure to pay subsequent invoices

       31.     Accruvia invoiced Athena, per directions from Athena, for that work. Overton Aff.

⁋16. Overton worked with Noreen Pepino, an Athena (not ABIT) employee, in sending invoices

to Athena. Overton Aff. ⁋16; D’s App. at Ex. 4 (p.49, ll.7-9). Athena and ABIT have the same

email address and website. D’s App. at Ex. 4 (p.54, ll.5-11; p.60, ll.9-13).

       32.     Athena, not ABIT, as indicated by payment entries, paid Accruvia for the first

invoice on that work, as invoiced. Overton Aff. ⁋17; Overton Aff. at Exs. 1-B, 1-C, 1-D (invoice

and payment/invoicing records showing paid by “Athena Bitcoin Inc.”).

       33.     The banking records produced by Athena show that a payment was made to

Accruvia by Athena from an Athena bank account. D’s App. at Ex. 4 (p.96, l.24-p.97-l.14); Bank

Record (P’s App. at Ex. 2-F).




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          34.      No entity, Athena, ABIT or otherwise—paid Accruvia for invoices for the

subsequent work, which was invoiced for $83,678.91. D’s App. at Ex. 4 (p.76, ll.10-15); Overton

Aff. ⁋20. That amount remains due and owing to Accruvia. Overton Aff. ⁋⁋20-21.

          35.      Athena admitted that the only reason no Athena-related entity has paid Accruvia

for the work was because ABIT was upset with Overton’s actions relating to certain actions

Overton took in El Salvador6—not because the work was bad, not received, or because of any

problems with the work in question. D’s App. at Ex. 4 (p.82, l.6-p.83, l.5). The non-payment had

nothing to do with the quality or lack of receipt or use of the work. Id. ABIT even tried to hire

the Accruvia developers who performed the work, and did hire one of them and Jarrell, who

performed the marketing work that is part of the work in question. D’s App. at Ex. 4 (p.83, l.6-

p.84, l.19); D’s App. at Ex. 3 (p.136, l.15-p.138, l.3); Overton Aff. ⁋11.

                               ARGUMENTS AND AUTHORITIES

     I.         The Court Should Deny Defendant’s Motion Based On No Evidence.

          Athena’s first ground for summary judgment is that there is no evidence on Accruvia’s

breach of contract and quantum meruit claims. Defendant’s Motion at 2-3. Athena, however, has

not met its burden to obtain summary judgment.

          To begin with, a “no evidence motion for summary judgment is only available in the Texas

State courts.” McGuire v. Chackel, No. 21-cv-00210-RP-SH, 2022 U.S. Dist. LEXIS 108148, *4

(W.D. Tex. 2022). Conclusory statements in a summary judgment motion that there is no




6
  After this case was filed, ABIT sued Overton based on these alleged El Salvadoran actions in
federal court in Illinois—a case that was dismissed for lack of personal jurisdiction over Overton.
See Athena Bitcoin Global v. Overton, No. 22 C 1291, 2022 U.S. Dist. Lexis 141447 (N.D. Ill.
August 9, 2022). The allegations in that case did not deal with the payments of invoices at issue
here.



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evidence—as here (Defendant’s Motion at 3)—are insufficient to shift the burden to Accruvia (or

to grant Defendant’s Motion). See Fret v. Melton Truck Lines, Inc.,706 F.App’x 824, 828 (5th Cir.

2017); Ruiz v. Bank of Am., N.A., No. 3:18-CV-2707-L, 2021 U.S. Dist. LEXIS 259829, *8-9

(N.D. Tex. Feb. 2, 2021). Even when coupled with the few facts actually mentioned, Defendant’s

Motion ⁋⁋1-2, 6-15, Athena did not meet their burden to show that there is no genuine issue of

material fact and that it is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a); McGuire,

2022 U.S. Dist. LEXIS 108148 at *4 (“[T]he Court should apply the appropriate federal standard”

to a no-evidence summary judgment motion.). The Court should deny Defendant’s Motion on this

ground alone.

       Regardless, to the extent that Athena met its burden to show that there is an absence of

material fact as to both of Accruvia’s claims, Accruvia is submitting sufficient evidence raising

fact issues on its claims. All facts, evidence and inferences—whether raised by Accruvia or

Athena—must be construed in the light most favorable to Accruvia. See Hale v. Abangan, No.

18-60183, 2022 U.S. App. LEXIS 27078, * 2-3 (5th Cir. 2022); Fret, 706 F.App’x at 827.

       A claim for breach of contract under Texas law requires (1) a valid contract; (2)

performance by Accruvia as contractually required; (3) a breach by Athena; and (4) damages due

to the breach. Harrison Co., L.L.C. v. A-Z Wholesalers, Inc., No. 21-11028, 2022 U.S. App.

LEXIS 22364, *7 (5th Cir. April 11, 2022). The elements of a quantum meruit claim are: (1)

valuable services were rendered or materials furnished; (2) for the person sought to be charged;

(3) those services and materials were accepted by the person sought to be charged, and were used

and enjoyed by him; and (4) the person sought to be charged was reasonably notified that the

plaintiff performing such services or furnishing such materials was expecting to be paid by the




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person sought to be charged. Oto Analytics, Inc. v. Cap. Plus Fin., LLC, No. 3:21-CV-2636-B,

2022 U.S. Dist. LEXIS 85031, *40 (N.D. Tex. May 11, 2022).

       The facts here show evidence on each element of both claims (Accruvia incorporates by

reference all facts in its Relevant Fact section, supra, and in its accompanying Appendix):

                     Facts                                 Cause of Action Element
 Accruvia entered into an agreement to            Contract Breach: Valid contract/agreement
 perform software development work, along         with Athena
 with related marketing work, for Athena.
 Relevant Facts ⁋⁋17, 20-21, infra. Accruvia      Quantum meruit: Services were performed
 believed it was doing work for Athena, not       for Athena.
 ABIT. Relevant Facts ⁋⁋18, infra.
 Accruvia actually performed the work in          Contract breach: Performance by Accruvia
 question, and the work was provided to
 Athena. Relevant Facts ⁋⁋17, 20-21, infra.       Quantum meruit: Valuable services rendered
                                                  or materials furnished for/to Athena; services
                                                  were performed for Athena
 Accruvia’s work was used with respect to         Quantum meruit: Services were for
 Athena’s Texas bitcoin ATMs. Relevant            performed for Athena; services/materials
 Facts ⁋⁋17, 20-26, infra.                        accepted by Athena; services/materials were
                                                  used by Athena
 Accruvia expected payment, and Athena            Quantum meruit: Services rendered/materials
 knew that Accruvia expected payment based,       furnished to Athena; Athena was reasonably
 in part, on the invoices sent by Accruvia to     notified that Accruvia was expecting to be
 Athena for the work. Relevant Facts ⁋⁋21-33,     paid by Athena
 infra.
 Athena paid Accruvia’s first invoice, and        Quantum meruit: Services/materials were
 payment records show that Athena was to be       accepted by Athena; Athena was reasonably
 making the other payments. Relevant Facts        notified that Accruvia was expecting to be
 ⁋32, infra. Accruvia worked with an Athena,      paid
 not ABIT, employee regarding the payments.
 Relevant Facts ⁋31, infra.
 Accruvia has not been paid for work that was     Contract breach: breach by Athena; damages
 invoiced at $83,678.91. Relevant Facts ⁋34,      to Accruvia
 infra. Accruvia is still owed that amount by
 Athena. Relevant Facts ⁋34, infra.               Quantum meruit: damages to Accruvia


       Because there are facts supporting each element of Accruvia’s causes of action—and

because those facts must be construed in the light most favorable to Accruvia—summary judgment

is improper and, therefore, should be denied.


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     II.      The Court Should Deny Defendant’s Motion Based On Personal Jurisdiction.

           Assuming Athena did not waive its personal jurisdiction defense by first seeking summary

judgment on substantive grounds,7 Athena’s tag-along second summary judgment request based

on personal jurisdiction is unfounded.

           Although Accruvia bears the burden of establishing personal jurisdiction, it is “required to

present only prima facie evidence” of jurisdiction. Ecigrusa LLC v. Silver State Trading LLC, No.

3:21-CV-1846-B, 2022 U.S. Dist. LEXIS 79793, *6 (N.D. Tex. May 3, 2022). A preponderance

of evidence is not required, and any conflicts in affidavits submitted are to be resolved in favor of

Accruvia. Am. Airlines, Inc. v. Red Ventures LLC, No. 4:22-cv-0044-P, 2022 U.S. Dist. LEXIS

90942, *5 (5th Cir. 2022). In determining whether prima facie evidence exists, the Court must

accept as true all uncontroverted allegations and resolve in Accruvia’s favor “all conflicts between

the jurisdictional facts contained in the parties’ affidavits and other documents.” Ecigrusa, 2022

U.S. Dist. LEXIS 79793 at *6; accord Tutus, L.L.C. v. JLG Indus., Inc., No. 21-20383, 2022 U.S.

App. LEXIS 13012, *3-4 (5th Cir. May 12, 2022).

           In a diversity jurisdiction case, as here, personal jurisdiction over Athena exists if Athena

has sufficient minimum contacts with Texas and exercising jurisdiction is consistent with

“traditional notices of fair play and substantial justice.” Matrix Warranty Sols., Inc. v. Staunton

Grp, LLC, No. 3:21-CV-3111-K, 2022 U.S. Dist. LEXIS 98425, *5 (N.D. Tex. June 2, 2022). It




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 Athena did not make its summary judgment motion subject to its personal jurisdiction defense.
Cf. Cruson v. Jackson Nat’l Life Ins. Co., 954 F.3d 240, 249-250 (5th Cir. 2020) (noting that
omitting personal jurisdiction defense from Rule 12 motion waives defense); Casares v. Agri-
Placements Int’l, Inc., 12 F.Supp. 3d 956, 964 ( S.D. Tex. 2014) (finding that party waived
personal jurisdiction defense when it joined in motion for summary judgment, but party that did
not join summary judgment motion did not waive personal jurisdiction); id. at 966 (noting that
summary judgment asks court to enter judgment on the merits, and when omitted from Rule 12
motion it is waived).


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is well settled that personal jurisdiction can be general or specific. Id. Specific jurisdiction exists

when “the plaintiff’s claims arise out of or are related to a non-resident defendant’s contact which

he ‘purposefully directed’ at the forum state.”        Id. Specific jurisdiction may exist over a

nonresident defendant whose contacts with the form state are singular or sporadic if the cause of

action asserted arises out of or is related to those contacts. Sangha v. Navi8 Shipmanagment

Private Ltd., 882 F.3d 96, 101 (5th Cir. 2018).

       Courts in the Fifth Circuit “conduct a three-step analysis in the specific-jurisdiction

inquiry:

       (1) Whether the defendant has minimum contacts with the forum state, i.e., whether it
           purposefully directed its activities toward the forum state or purposefully availed itself
           of the privilege of conducting business activities there;

       (2) Whether the plaintiff’s cause of action arises out of or results from the defendant’s
           forum-related contacts; and

       (3) Whether the exercise of personal jurisdiction is fair and reasonable.

Matrix Warranty, 2022 U.S. Dist. LEXIS 98425 at *7. Accruvia bears the burden on the first two

prongs, but after those two factors have been established the burden shifts to Athena to “make a

compelling case” that the assertion of jurisdiction is unfair or unreasonable. Id.

       When determining personal jurisdiction involving a breach of contract claim, the Court

should consider, among many other factors, acts relating to the terms of the contract and the

parties’ actual course of dealing. Ecigrusa, 2022 U.S. Dist. LEXIS 79793 at *11. “The ultimate

question is whether the alleged breached contract had a substantial relationship to the forum state,

considering the totality of the circumstances.” Id. (emphasis in original).

       The totality of the circumstances here establish specific jurisdiction over Athena because

there is a substantial relationship between the breached contract (and quantum meruit claim) and




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Texas, including but not limited to Athena’s general relationship to Texas (Accruvia incorporates

by reference all facts in its Relevant Fact section and its accompanying Appendix):

   •   Athena owns and operates bitcoin ATMs in Texas. Athena obtains revenues from those
       Texas-based ATMs. Relevant Facts ⁋⁋8, 10, infra.

   •   Athena is registered to do business, actually does business, and files franchise tax reports
       in Texas. Relevant Facts ⁋9, infra.

   •   Athena’s website, which is accessible by Texas residents, lists eight bitcoin ATMs in Texas
       and shows that Athena has a business presence in Texas. Relevant Facts ⁋11, infra.

   •   Athena currently has one employee in Texas, who worked on the work for Accruvia that
       formed the basis of this lawsuit while she was in Texas. Relevant Facts ⁋⁋12, 21, infra.

   •   In contracting with Accruvia, Athena knew that Accruvia was located in Texas and that
       Overton lived in Texas. Athena knew that the work was to be performed, in part, in Texas.
       The Accruvia employee doing the marketing work in question performed her job in Texas.
       Relevant Facts ⁋⁋16, 21, infra.

   •   Accruvia performed the work in question, in part, in Texas. Relevant Facts ⁋21, infra.

   •   The work in question that forms the basis of Accruvia’s claims was done for and was used
       by Athena in Athena’s bitcoin ATMs in Texas. Relevant Facts ⁋⁋22-26, infra.

       These facts clearly establish at a minimum a prima facie showing of the first two points

Accruvia must show for personal jurisdiction: that Athena has the requisite minimum contacts with

Texas and that Athena’s causes of action arise out of Athena’s forum-related activities (this lawsuit

is a breach of contract/quantum meruit claims for failure to pay work done by Accruvia, in part, in

Texas, and for work that was used by Athena in its Texas bitcoin ATMs). See Matrix Warranty,

2022 U.S. Dist. LEXIS 98425 at *7 (listing two requirements); see also Cent. Freight Lines, Inc.

v. APA Transp. Corp., 322 F.3d 376, 385 (5th Cir. 2003) (personal jurisdiction upheld);

Electrosource, Inc. v. Horizon Battery Techs., Ltd., 176 F.3d 867874 (5th Cir. 1999) (personal

jurisdiction found).




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        The facts here are different than those in Danziger & De Llano, L.L.P. v. Morgan Verkamp,

L.L.C., 24 F.4th 491 (5th Cir. 2022), where a Texas law firm sued a non-Texas law firm regarding

splitting attorneys’ fees. There the work in question was not performed in Texas and the

relationship at issue involved the non-Texas law firm’s legal representation of a non-Texas client

in a non-Texas case, which was centered outside of Texas. Id. at *24. Here, on the other hand,

the work in question was to be and was used in Athena’s bitcoin ATMs in Texas.

        Because Accruvia has shown the first two requirements, whether the exercise of personal

jurisdiction is fair and reasonable is Athena’s burden. Matrix Warranty, 2022 U.S. Dist. LEXIS

98425 at *7. Athena cannot do this, as it is fair and reasonable for a company that contracts

(Athena) with a Texas company (Accruvia) to do work that is going to be and was utilized in Texas

property (Athena’s Texas bitcoin ATMs) to be required to answer in a Texas court for failure to

pay the Texas company (Accruvia) for work it performed.

        Defendant’s Motion based on personal jurisdiction should, therefore, be denied.

                                           CONCLUSION

        Based on the foregoing, Accruvia requests that the Court deny Defendant’s Motion and

grant Accruvia all other relief to which it is entitled.




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Dated this 24th day of October, 2022.


                                      Respectfully submitted,


                                      /s/ Kelly Stewart
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                                    CERTIFICATE OF SERVICE

        I certify on the 24th day of October, 2022, I filed this document electronically with the
Court using the CM/ECF system, which will sent a notice of electronic filing to counsel of
record.

                                              /s/ Kelly Stewart




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